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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §            C.R. NO. C-08-561M-2
                                                 §
PALOMA ELIZABETH ENRIQUEZ                        §


                        ORDER OF DETENTION PENDING TRIAL

       On July 25, 2008, a detention hearing was held in accordance with the Bail Reform Act,

18 U.S.C. § 3142(f). The following requires detention of defendant pending trial in this case:

       (1)     There is probable cause to believe the defendant committed an offense for which

a term of imprisonment ranges between ten years and life in prison pursuant to 21 U.S.C.

§ 841(b)(1)(A).

       (2)     Defendant has not rebutted the presumption that no condition or combination of

conditions will reasonably assure the appearance of the defendant as required and the safety of

the community.

       The evidence against defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report, as well as the testimony by Special Agent

Sean Argyros, are adopted.

       Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall

be afforded a reasonable opportunity for private consultation with defense counsel. On order of

a court of the United States or on a request of an attorney for the Government, the person in
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charge of the corrections facility shall deliver defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

       ORDERED this 25th day of July 2008.



                                              ____________________________________
                                              BRIAN L. OWSLEY
                                              UNITED STATES MAGISTRATE JUDGE




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